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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Russell B Toomey,                                   No. CV-19-00035-TUC-RM (LAB)
10                  Plaintiff,                           ORDER
11   v.
12   State of Arizona, et al.,
13                  Defendants.
14
15          On April 5, 2023, the parties filed a Status Report (Doc. 350) providing notice to
16   the Court that the parties are finalizing settlement documentation and will file another

17   status report on or before July 15, 2023, or whatever date the Court deems appropriate.
18          Accordingly,

19          IT IS ORDERED that the parties shall file either a stipulation of dismissal or a

20   further status report on or before July 15, 2023.
21          Dated this 12th day of April, 2023.
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